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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   FLORENCE DIVISION

 CHALPIN REALTY SC, LLC,                     )             Civil Action No: 4:22-cv-02651-JD
                                             )
                                             )
                 Plaintiff,                  )
                                             )              CONSENT MOTION FOR
                vs.                          )            EXTENSION TO RESPOND TO
                                             )          PLAINTIFF’S PETITION FOR FEES
 JERSAM REALTY, INC.,                        )             AND MOTION TO AMEND
                                             )
               Defendant.                    )

       Counterclaimant/Defendant, Jersam Realty, Inc., with the consent of Plaintiff, hereby

respectfully requests a fourteen-day extension, pursuant to Local Civil Rule 6.01, for the filing of its

Response in Opposition to Plaintiffs’ Petition for Attorneys’ Fees and Costs (DE 35), which would

make its response due on November 7, 2023, and Plaintiff’s Motion to Amend (DE 36), which would

make its response due on November 8, 2023 The Responses are currently due on October 24, 2023

and October 25, 2023. The deadline has not been previously extended, and the requested extension

does not affect other deadlines. Counsel makes this request for a fourteen-day extension of time, due

to counsels’ prior commitments (fall break) and work schedule leading up to the original deadlines

(an appellate argument, trial, as well as several hearings).

       Pursuant to Local Civil Rule 7.02, the undersigned has spoken with Counsel for Plaintiff to

request this extension, and Plaintiff consents to the requested extension. Because this Motion contains

a full explanation of the reasons therefor, no supporting memorandum is being submitted pursuant to

Local Civil Rule 7.04.




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                                      Respectfully Submitted,


                                      HAYNSWORTH SINKLER BOYD, P.A.

                                      s/Stafford J. McQuillin III
                                      Stafford J. McQuillin III (Fed ID #10715)
                                      mmcquillin@hsblawfirm.com

                                      AND

                                      PARKER NELSON & ASSOCIATES

                                      Theodore Parker III (Fed ID #12224)
                                      Tparker@pnalaw.net

                                      Attorneys for Jersam Realty, Inc.
October 12, 2023




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